Case 1:18-cv-04757-DLI-CLP Document 5 Filed 11/27/18 Page 1 of 1 PageID #: 23



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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

----------------------------------------------------------------------x
MARIE F. CONDE, M.D.,                                                   Case No.: 1:18-cv-04757-DLI-CLP

                                            Plaintiff,                           Notice of Voluntary
                                                                                 Dismissal Pursuant to
                                                                                 F.R.C.P. 41(a)(1)(A)(i)

                          -against-

FRANK R. SEDDIO, ESQ., JOYCE BECKER SEDDIO,

                                             Defendants.
----------------------------------------------------------------------x

                     Notice of Voluntary Dismissal Pursuant to F.R.C.P. 41(a)(1)(A)(i)

        Pursuant to F.R.C.P. 41(a)(1)(A)(i), the Plaintiff Marie F. Conde, M.D. through their
counsel, Winston & Winston, P.C., hereby give notice that the above captioned action is
voluntarily dismissed against the defendants Frank R. Seddio, Esq. and Joyce Becker Seddio.



                                                                          /s/ Aleksander Powietrzynski
Dated: November 27, 2018                                                  Aleksander Powietrzynski
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